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                            UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA

   10 M. PAPADOPOULOS DENTAL                       CASE NO:
        CORPORATION                                2:19−cv−01133−PSG−GJS
   11
                       Plaintiff(s),
   12                                              STANDING ORDER
               v.
   13                                              REGARDING NEWLY
        ICP, INC.                                  ASSIGNED CASES
   14
   15
                      Defendant(s).
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   19
         READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE.
   20
               This action has been assigned to the calendar of Judge Philip S. Gutierrez.
   21
         The responsibility for the progress of litigation in the Federal Courts falls not only
   22    upon the attorneys in the action, but upon the Court as well. "To secure the just,
   23    speedy, and inexpensive determination of every action," Fed. R. Civ. P. 1, all
   24    counsel are hereby ordered to familiarize themselves with the Fed. R. Civ. P. ,
   25    particularly Fed. R. Civ. P. 16, 26, the Local Rules of the Central District of
   26    \\\
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        California, this Court's Order for Jury Trial, and this Court's Order for Court
   2    Trial. ¹
   3
   4    UNLESS OTHERWISE ORDERED BY THE COURT, THE FOLLOWING

   5    RULES SHALL APPLY:
   6          1.   Service of the Complaint. The Plaintiff(s) shall promptly serve the
   7    Complaint in accordance with Fed. R. Civ. P. 4 and file the proofs of service
   8    pursuant to Local Rule. Any Defendant(s) not timely served shall be dismissed
   9    from the action without prejudice. Any "DOE" or fictitiously−named Defendant(s)
   10   who is not identified and served within 120 days after the case is filed shall be
   11   dismissed pursuant to Fed. R. Civ. P. 4(m).
   12         2.   Removed Actions. Any answers filed in state court must be refiled

   13   in this Court as a supplement to the petition. Any pending motions must be re−
   14   noticed in accordance with Local Rule. If an action is removed to this Court that
   15   contains a form pleading, i.e., a pleading in which boxes are checked, the party or

   16   parties utilizing the form pleading must file an appropriate pleading with this Court

   17   within thirty (30) days of receipt of the Notice of Removal. The appropriate

   18   pleading referred to must comply with the requirements of Fed. R. Civ. P. 7, 7.1,

   19   8, 9, 10 and 11.

   20         3.   Presence of Lead Counsel. The attorney attending any proceeding
   21   before this Court, including all status and settlement conferences, must be the lead
   22   trial counsel.
   23   \\\
   24
            ¹Copies of the Local Rules are available on our website at
   25   "http://www.cacd.uscourts.gov" or they may be purchased from one of the
   26   following:

   27   Los Angeles Daily Journal       West Group              Metropolitan News
        915 East 1st Street             610 Opperman Drive      210 South Spring Street
   28   Los Angeles, CA 90012           Post Office Box 64526   Los Angeles, CA 90012
                                        St. Paul, MN 55164−0526

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             4.    Discovery. All discovery matters have been referred to a United
   2    States Magistrate Judge to hear all discovery disputes. (The Magistrate Judge's
   3    initials follow the Judge's initials next to the case number.) All documents must
   4    include the words "DISCOVERY MATTER" in the caption to ensure proper

   5    routing. Counsel are directed to contact the Magistrate Judge's Courtroom Deputy
   6    Clerk to schedule matters for hearing. Please do not deliver mandatory chambers
   7    copies of these papers to this Court.
   8         The decision of the Magistrate Judge shall be final, subject to modification
   9    by the District court only where it has been shown that the Magistrate Judge's
   10   order is clearly erroneous or contrary to law. Any party may file and serve a
   11   motion for review and reconsideration before this Court. The moving party must
   12   file and serve the motion within ten (10) days of service of a written ruling or

   13   within ten (10) days of an oral ruling that the Magistrate Judge states will not be
   14   followed by a written ruling. The motion must specify which portions of the text
   15   are clearly erroneous or contrary to law, and the claim must be supported by points
   16   and authorities. Counsel shall deliver a conformed copy of the moving papers and
   17   responses to the Magistrate Judge's clerk at the time of filing.

   18        5.    Motions − General Requirements

   19        a. Time for Filing and Hearing Motions: Motions shall be filed in

   20   accordance with Local Rules 6 and 7. This Court hears motions on Mondays,
   21   beginning at 1:30 p.m. If the motion date selected is not available, the Court will
   22   issue a minute order striking the motion. (Counsel are advised to check the
   23   availability of a selected date immediately prior to filing the motion.) Opposition
   24   or reply papers due on a holiday must be filed the preceding Friday−not the

   25   following Tuesday−and must be hand−delivered or faxed to opposing counsel on

   26   that Friday. Professional courtesy dictates that moving parties should, whenever
   27   possible, avoid filing motions for which opposition papers will be due the Friday
   28   preceding a holiday. Such a filing is likely to cause a requested continuance to be

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        granted.
   2         Adherence to the timing requirements is mandatory for Chambers'
   3    preparation of motion matters.
   4         b. Pre−filing Requirement: Counsel must comply with Local Rule 7−3,

   5    which requires counsel to engage in a pre−filing conference "to discuss
   6    thoroughly . . . the substance of the contemplated motion and any potential
   7    resolution." Counsel should discuss the issues to a sufficient degree that if a
   8    motion is still necessary, the briefing may be directed to those substantive issues
   9    requiring resolution by the Court. Counsel should resolve minor procedural or
   10   other non−substantive matters during the conference. The pro per status of one
   11   or more parties does not negate this requirement.
   12        c. Length and Format of Motion Papers: Memoranda of points and

   13   authorities in support of or in opposition to motions shall not exceed 25 pages.
   14   Replies shall not exceed 12 pages. Only in rare instances and for good cause
   15   shown will the Court grant an application to extend these page limitations.
   16   Pursuant to Local Rule, either a proportionally spaced or monospaced face may be
   17   used. A proportionally spaced face must be 14−point or larger, or as the Court may

   18   otherwise order. A monospaced face may not contain more than 10½ characters

   19   per inch. These typeface requirements apply to footnoted material.

   20        d. Citations to Case Law: Citations to case law must identify not only the
   21   case cited, but the specific page referenced.
   22        e. Citations to Other Sources: Statutory references should identify with
   23   specificity the sections and subsections referenced (e.g., Jurisdiction over this
   24   cause of action may appropriately be found in 47 U.S.C. § 33, which grants the

   25   district courts jurisdiction over all offenses of the Submarine Cable Act, whether

   26   the infraction occurred within the territorial waters of the United States or on
   27   board a vessel of the United States outside said waters). Statutory references that
   28   do not specifically indicate the appropriate section and subsection (e.g., Plaintiffs

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        allege conduct in violation of the Federal Electronic Communication Privacy Act,
   2    18 U.S.C. § 2511, et seq.) are to be avoided. Citations to treatises, manuals, and
   3    other materials should include the volume, section, and pages being referenced.
   4         f. Oral Argument: If the Court deems a matter appropriate for decision

   5    without oral argument, the Court will notify the parties in advance.
   6         6.   Specific Motion Requirements
   7         a. Motions Pursuant to Rule 12: Many motions to dismiss or to strike can
   8    be avoided if the parties confer in good faith (as required under Local Rule 7−3),
   9    especially for perceived defects in a complaint, answer, or counterclaim that could
   10   be corrected by amendment. See Chang v. Chen, 80 F.3d 1293, 1296 (9th Cir.
   11   1996) (where a motion to dismiss is granted, a district court should provide leave
   12   to amend unless it is clear that the complaint could not be saved by any

   13   amendment). Moreover, a party has the right to amend the complaint once as a
   14   matter of course within twenty−one (21) days of serving it or "if the pleading is
   15   one to which a responsive pleading is required, 21 days after service of a
   16   responsive pleading or 21 days after service of a motion under Rule 12(b), (e), or
   17   (f), whichever is greater." Fed. R. Civ. P. 15(a)(1). Even after a complaint has

   18   been amended or the time for amending it as a matter of course has run, the

   19   Federal Rules provide that leave to amend should be "freely given when justice so

   20   requires." Fed. R. Civ. P. 15(a). The Ninth Circuit requires that this policy
   21   favoring amendment be applied with "extreme liberality." Morongo Band of
   22   Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990).
   23        These principles require that plaintiff's counsel carefully evaluate
   24   defendant's contentions as to the deficiencies in the complaint. In most instances

   25   the moving party should agree to any amendment that would cure the defect.

   26        b. Motions to Amend: In addition to the requirements of Local Rule 15−1,
   27   all motions to amend pleadings shall: (1) state the effect of the amendment; (2) be
   28   serially numbered to differentiate the amendment from previous amendments; and

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        (3) state the page and line number(s) and wording of any proposed change or
   2    addition of material.
   3         The parties shall deliver to Chambers a "redlined" version of the proposed
   4    amended pleading indicating all additions and deletions of material.

   5         c. Summary Judgment Motions: Parties need not wait until the motion
   6    cutoff to bring motions for summary judgment or partial summary judgment.
   7    Moreover, the court expects that the party moving for summary judgment will
   8    strictly observe the timing requirements of the Local Rules and this Standing
   9    Order. A motion under Rule 56 must be filed at least forty−nine (49) days prior to
   10   the date on which the motion is noticed for hearing. The opposition is due not
   11   later than twenty−one (21) days before the date designated for the hearing of the
   12   motion, and the reply not later than fourteen (14) days before the date designated

   13   for the hearing of the motion. Because summary judgment motions are fact−
   14   dependent, parties should prepare papers in a fashion that will assist the court in
   15   absorbing the mass of facts (e.g., generous use of tabs, tables of contents,
   16   headings, indices, etc.). The parties are to comply precisely with Local Rule 56−1
   17   through 56−4.

   18        No party may file more than one motion pursuant to Fed. R. Civ. P. 56,

   19   regardless of whether such motion is denominated as a motion for summary

   20   judgment or summary adjudication, without leave from the Court.
   21        1.     Statement of Undisputed Facts and Statement of Genuine Issues:
   22        The separate statement of undisputed facts shall be prepared in a two−
   23   column format. The left hand column sets forth the allegedly undisputed fact.
   24   The right hand column sets forth the evidence that supports the factual statement.

   25   The factual statements should be set forth in sequentially numbered paragraphs.

   26   Each paragraph should contain a narrowly focused statement of fact. Each
   27   numbered paragraph should address a single subject as concisely as possible.
   28        The opposing party's statement of genuine issues must be in two columns

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        and track the movant's separate statement exactly as prepared. The left hand
   2    column must restate the allegedly undisputed fact, and the right hand column must
   3    state either that it is undisputed or disputed. The opposing party may dispute all
   4    or only a portion of the statement, but if disputing only a portion, it must clearly

   5    indicate what part is being disputed, followed by the opposing party's evidence
   6    controverting the fact. The court will not wade through a document to determine
   7    whether a fact really is in dispute. To demonstrate that a fact is disputed, the
   8    opposing party must briefly state why it disputes the moving party's asserted fact,
   9    cite to the relevant exhibit or other piece of evidence, and describe what it is in
   10   that exhibit or evidence that refutes the asserted fact. No legal argument should be
   11   set forth in this document.
   12        The opposing party may submit additional material facts that bear on or

   13   relate to the issues raised by the movant, which shall follow the format described
   14   above for the moving party's separate statement. These additional facts shall
   15   continue in sequentially numbered paragraphs and shall set forth in the right hand
   16   column the evidence that supports that statement.
   17        2.     Supporting Evidence: No party shall submit evidence other than

   18   the specific items of evidence or testimony necessary to support or controvert a

   19   proposed statement of undisputed fact. For example, entire deposition transcripts,

   20   entire sets of interrogatory responses, and documents that do not specifically
   21   support or controvert material in the separate statement shall not be submitted in
   22   support of opposition to a motion for summary judgment. The court will not
   23   consider such material.
   24        Evidence submitted in support of or in opposition to a motion should be

   25   submitted either by way of stipulation or as exhibits to declarations sufficient to

   26   authenticate the proffered evidence, and should not be attached to the
   27   memorandum of points and authorities. The court will accept counsel's
   28   authentication of deposition transcripts, written discovery responses and the

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        receipt of documents in discovery if the fact that the document was in the
   2    opponent's possession is of independent significance. Documentary evidence as
   3    to which there is no stipulation regarding foundation must be accompanied by the
   4    testimony, either by declaration or properly authenticated deposition transcript, of

   5    a witness who can establish authenticity.
   6         3.     Objections to Evidence: If a party disputes a fact based in whole or
   7    in part on an evidentiary objection, the ground of the objection, as indicated
   8    above, should be stated in a separate statement but not argued in that document.
   9         7.     Proposed Orders. Each party filing or opposing a motion or seeking
   10   the determination of any matter shall serve and lodge a proposed order setting
   11   forth the relief or action sought and a brief statement of the rationale for the
   12   decision with appropriate citations.

   13        8.     Mandatory Chambers Copies: Mandatory chambers copies of ALL
   14   filed documents must be delivered to Judge Gutierrez's mail box outside the Clerk's
   15   Office on the 4th floor of the First Street Courthouse not later than 12:00 noon the
   16   following business day. Documents must be blue−backed and two−hole punched
   17   at the top. All exhibits, declarations, etc. must be tabbed, where applicable. For

   18   security reasons, mandatory chambers copies should be removed from envelopes

   19   or folders before placing them in the box.

   20        Chambers copies of under seal documents shall be placed in manila envelope
   21   labeled "UNDER SEAL".
   22        9.    Telephonic Hearings. The Court does not permit appearances or
   23   arguments by way of telephone conference calls.
   24        10.   Ex Parte Applications. The Court considers ex parte applications

   25   on the papers and does not usually set these matters for hearing. If a hearing is

   26   necessary, the parties will be notified. Ex parte applications are solely for
   27   extraordinary relief and should be used with discretion. Sanctions may be
   28   imposed for misuse of ex parte applications. See Mission Power Engineering Co.

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        v. Continental Casualty Co., 883 F. Supp. 488 (C.D. Cal. 1995).
   2         Counsel's attention is directed to Local Rules. The moving party shall serve
   3    the opposing party by facsimile transmission and shall notify the opposition that
   4    opposing papers must be filed not later than 3:00 p.m. on the first business day

   5    following such facsimile service. If counsel does not intend to oppose an ex parte
   6    application, he or she must inform the Courtroom Deputy Clerk at (213) 894−8899.
   7         11.   TROs and Injunctions. Parties seeking emergency or provisional
   8    relief shall comply with Rule 65 and Local Rule 65. The Court will not rule on
   9    any application for such relief for at least twenty−four hours after the party subject
   10   to the requested order has been served, unless service is excused. Such party may
   11   file opposing or responding papers in the interim.
   12        12.   Continuances. This Court has a strong interest in keeping scheduled

   13   dates certain. Changes in dates are disfavored. Trial dates set by the Court are
   14   firm and will rarely be changed. Therefore, a stipulation to continue the date of
   15   any matter before this Court must be supported by a sufficient basis that
   16   demonstrates good cause why the change in the date is essential. Without such
   17   compelling factual support, stipulations continuing dates set by this Court will not

   18   be approved. Counsel requesting a continuance must lodge a proposed stipulation

   19   and order including a detailed declaration of the grounds for the requested

   20   continuance or extension of time. Failure to comply with the Local Rules and this
   21   Order will result in rejection of the request without further notice to the parties.
   22   Proposed stipulations extending scheduling dates do not become effective unless
   23   and until this Court so orders. Counsel wishing to know whether a stipulation has
   24   been signed shall comply with the applicable Local Rule.

   25        13.   Communications with Chambers. Counsel shall not attempt to

   26   contact the Court or its staff by telephone or by any other ex parte means.
   27   Counsel may contact the Courtroom Deputy Clerk with appropriate inquiries only.
   28   Counsel shall not contact the Courtroom Deputy regarding status of ex parte

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        application/ruling or stipulation/ruling. If counsel desires a conformed copy of
   2    any proposed order submitted to the Court, counsel shall provide an extra copy of
   3    the document, along with a self−addressed, stamped envelope. Counsel should list
   4    their facsimile transmission numbers along with their telephone numbers on all

   5    papers to facilitate communication with the Courtroom Deputy.
   6          14.   Order Setting Scheduling Conference. Pursuant to
   7    Fed. R. Civ. P. 16(b), the Court will issue an Order setting a Scheduling
   8    Conference as required by Fed. R. Civ. P. 26 and the Local Rules of this Court.
   9    Strict compliance with Fed. R. Civ. P. 16 and 26 is required.
   10         15.   Alternative Dispute Resolution (ADR). This Court participates in
   11   the Court−Directed ADR Program. If counsel have received a Notice to Parties of
   12   Court−Directed ADR Program (ADR−08), the case will be presumptively referred

   13   to the Court Mediation Panel or to private mediation at the time of the initial
   14   scheduling conference. See General Order 11−10, §5.1. Counsel should include
   15   their shared or separate views regarding a preference for the Court Mediation
   16   Panel or private mediation, and when the mediation should occur, in the written
   17   report required by Fed.R.Civ.P. 26(f) and Civil L.R. 26−1. This Court generally

   18   does not refer settlement conferences to magistrate judges. For information about

   19   the Court's ADR Program, the Mediation Panel, and mediator profiles, visit the

   20   "ADR" page of the Court website.
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              16.    Notice of this Order. Counsel for plaintiff or plaintiff (if appearing
   2     on his or her own behalf) shall immediately serve this Order on all parties,
   3     including any new parties to the action. If this case came to the Court by a
   4     Petition for Removal, the removing defendant(s) shall serve this Order on all

   5     other parties.

   6        IT IS SO ORDERED.
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   8    DATED: February 19, 2019

   9                                        Philip S. Gutierrez
                                            United States District Judge
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